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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                    IN THE UNITED STATES DISTRICT COURT                  February 03, 2020
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
                                                                         David J. Bradley, Clerk




SUNIVERSE, LLC,                            §
                                           §
                    Plaintiff,             §
                                           §
v.                                         §
                                           §
WASHINGTON MUTUAL BANK;                    §
JPMORGAN CHASE, as Successor in            §
Interest to WASHINGTON MUTUAL              §        CIVIL ACTION NO. H-19-3768
BANK, F.A.; CITIBANK, N.A., as             §
TRUSTEE, IN TRUST FOR                      §
REGISTERED HOLDERS OF WAMU                 §
ASSET-BACKED CERTIFICATES WAMU             §
SERIES 2007-HE2 TRUST; SELECT              §
PORTFOLIO SERVICING, INC.; and             §
GIOVANNY LAGUAN,                           §
                                           §
                    Defendants.            §

                          MEMORANDUM OPINION AND ORDER


       Plaintiff        Suniverse,   LLC       ("Plaintiff"),   sued   defendants
CitiBank,       N.A.,    as Trustee    ("CitiBank") and Select Portfolio
Servicing, Inc. ("SPS") (collectively "Defendants") in the 240th
Judicial District Court of Fort Bend County, Texas, to contest a
foreclosure.1 Defendants timely removed the action to this court.2
Pending before the court is Plaintiff's Application for Emergency
Ex Parte Temporary Restraining Order and Request for Hearing on


      See Plaintiff's Original Petition, Exhibit C-1 to Defendants'
       1

Notice of Removal, Docket Entry No. 1-4, pp. 1, 7-12. All page
numbers for docket entries in the record refer to the pagination
inserted at the top of the page by the court's electronic filing
system, CM/ECF.
       2
           See Defendants' Notice of Removal, Docket Entry No. 1.
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Preliminary       Injunction       ("Plaintiff's     Motion")    (Docket   Entry
No. 17).     For the reasons stated below, Plaintiff's Motion will be
granted in part and denied in part.


                      I.   Factual and Procedural Background

     Hilary and Kimberly Lloyd purchased real property known as 538
Longview Drive, Sugar Land, Texas 77478                   ("the Property"), on
January 9, 2004. 3            On January 19 ,   2007 ,   the Lloyds obtained a
$308,000.00 home equity mortgage loan secured by a Deed of Trust on
the Property from Washington Mutual.4               CitiBank and SPS are the
current mortgagee and servicer of the Lloyds' mortgage. 5                    On
June 25, 2018, the Lloyds conveyed the property to Suniverse.6              The
parties dispute whether the Property is still subject to a lien
under the mortgage.
     The Property has been noticed for foreclosure sale by its

mortgagee nine times.7              After the eighth notice of sale for


     3
      Plaintiff's First Amended Complaint ("Plaintiff's Amended
Complaint"), Docket Entry No. 7, p. 4 1 12.
     4
      Id. 1 11; see Texas Home Equity Security Instrument ("Deed of
Trust"), Exhibit 2 to Plaintiff's Motion, Docket Entry No. 17-2.
     5
         Plaintiff's Amended Complaint, Docket Entry No. 7, p. 2
11 2-5.
     6
         Id. at   5   1 14.
     7
      Id. 1 15; Notice of Acceleration and Posting Dated
January 13, 2020, Exhibit 1 to Defendants' Opposition to
Plaintiff's Application for Ex Parte Temporary Restraining Order
and Temporary Injunction ("Defendants' Response"), Docket Entry
No. 18-1, p. 1.
                                         -2-
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October 1, 2019, Plaintiff brought this action in state court on
September 20, 2019, seeking injunctive and declaratory relief to
prevent the foreclosure, to quiet title, and assert a right of
redemption. 8 On September 23, 2019, Plaintiff obtained an ex parte
temporary restraining order against the sale, which expired on

October 7, 2019. 9        Defendants removed the action to this court on
the basis of diversity jurisdiction on October 1,                      2019. 10   On
January 13,       2020,   while the action was pending and after the
temporary      restraining      order    expired,     SPS    gave      notice     of
acceleration       and    a   foreclosure     sale   on   February      4,   2020. 11
Plaintiff filed its ex parte motion to stay the foreclosure sale on
January     27,   2020. 12     Defendants     responded     to   the    motion    on
January 29, 2020, 13 and Plaintiff replied on January 29, 2020. 14


     8
      Plaintiff's Original Petition, Exhibit C-1 to Defendants'
Notice of Removal, Docket Entry No. 1-4, pp. 7-12.
     9
      Ex Parte Temporary Restraining Order Halting Substitute
Trustee Foreclosure Sale, Exhibit C-2 to Defendants' Notice of
Removal, Docket Entry No. 1-5, pp. 2-3.
     10
          Defendants' Notice of Removal, Docket Entry No. 1, pp. 1, 3.
     11Notice of Acceleration and Posting, dated January 13, 2020,
Exhibit 1 to Defendants' Opposition to Plaintiff's Application for
Ex Parte Temporary Restraining Order and Temporary Injunction
("Defendants' Response"), Docket Entry No. 18-1, p. 2.
     12
          Plaintiff's Motion, Docket Entry No. 17.
     13   Defendants' Response, Docket Entry No. 18.
      Plaintiff's Reply in Support of Its Application for Emergency
     14

Ex Parte Temporary Restraining Order ("Plaintiff's Reply"), Docket
Entry No. 19.
                                        -3-
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                                    II.   Analysis

      Although Plaintiff seeks a temporary restraining order, when
the opposing party has received notice of the application for a
temporary         restraining     order    the    procedure   does    not   differ
functionally from a motion for preliminary injunction. Dilworth v.
Riner, 343 F.2d 226, 239 (5th Cir. 1965); llA Charles Alan Wright,

Arthur       R.    Miller   &    Mary     Kay    Kane,   Federal     Practice   and
Procedure § 2951 (3d ed. 2013}.                 The court will therefore treat
Plaintiff's Motion as an application for a preliminary injunction
under Federal Rule of Civil Procedure 65(a}.                  The court need not
hold a hearing to decide the application because the relevant facts
are not in dispute.             See Anderson v. Jackson, 556 F.3d 351, 360
(5th Cir. 2009}.
      To establish entitlement to preliminary injunctive relief

Plaintiff must establish (1) a substantial likelihood that it will
prevail on the merits, (2) a substantial threat that it will suffer
irreparable injury without the injunction, (3) that the threatened
injury to it outweighs the threatened harm the injunction may do to
Defendants, and (4) that granting the injunction will not disserve
the public interest.              Canal Authority of State of Florida v.
Callaway. 489 F.2d 567, 572 (5th Cir. 1974). Defendants argue that
Plaintiff has not established a likelihood of success on the
merits. 15    To satisfy this element Plaintiff must "present a prima
facie case but need not show a certainty of winning."                    Texas v.


      15
           Id. at 4.
                                          -4-
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United States, 328 F. Supp. 3d 662, 710 (S.D. Tex. 2018); llA
Charles Alan Wright, Arthur R. Miller               &    Mary Kay Kane, Federal
Practice and Procedure§ 2948.3 (3d ed. 2013).                  Plaintiff contends
that the Deed of Trust requires that the loan be accelerated before
foreclosure       can     proceed,    and    that   it   has   shown       sufficient
likelihood of success on its claim that the foreclosure is barred
because the mortgage loan has not been accelerated. 16
       The Deed of Trust requires that the lender must give the
borrower notice of default and intent to accelerate; afterwards, if
the default is not cured, the lender may "require immediate payment
in full of all sums secured by this Security                         Instrument"
accelerating the loan - and "invoke any remedies permitted by
applicable law." 17        Plaintiff argues the most recent controlling
notice of acceleration was on February 23, 2018, when Defendants
filed a Rule 736 application seeking a state court order permitting
foreclosure. 18         On October 15 and November 15, 2018, SPS sent
mortgage statements showing that the account could be brought out
of    default      with    payments     of    $321,509.39      and       $328,125.57,
respectively, though the total due including interest and taxes


       16
            Plaintiff's Motion, Docket Entry No. 17, p. 4            1    14.
      Deed of Trust, Exhibit 2 to Plaintiff's Motion, Docket Entry
       17

No. 17-2, p. 6 § 20.
      Plaintiff's Motion, Docket Entry No. 17, p. 7; Application
       18

For an Expedited Order Under Rule 736 on a Home Equity, Reverse
Mortgage, or Home Equity Line of Credit Loan ("Rule 736
Application"), Exhibit 6 to Plaintiff's Motion, Docket Entry
No. 17-6, pp. 1-2.
                                        -5-
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exceeded $750,000.19          These statements effectively abandoned the
February 23 acceleration because the amount demanded was lower than
the total remaining due.20                See Boren v. U.S. National Bank
Association, 807 F.3d 99, 105 (5th Cir. 2015) ("A lender waives its
earlier acceleration when it 'put[s] the debtor on notice of its

abandonment                by requesting payment on less than the full
amount of the loan.'") (quoting Leonard v. Ocwen Loan Servicing,
L.L.C., 616 F. App'x 677, 680 (5th Cir. 2015) (per curiam).
       Defendants argue that even if they abandoned the February 2018
acceleration, they re-accelerated the loan on January 13, 2020,
when they noticed the foreclosure sale for February 4, 2020.21
Effective acceleration of a note with an optional acceleration
clause requires (1) notice of intent to accelerate and (2) notice
of acceleration.          Holy Cross Church of God in Christ v. Wolf, 44
S.W.3d 562, 566           (Tex. 2001)       Defendants have only shown the
latter. The only notice of intent in the record is a demand letter
sent    by     SPS   on   October   21,    2014,   declaring   the   intent   to
accelerate.22        The Fifth Circuit has held that Texas law requires



      October 2018 Mortgage Statement, Exhibit 7 to Plaintiff's
       19

Motion, Docket Entry No. 17-7, p. 1; November 2018 Mortgage
Statement, Exhibit 8 to Plaintiff's Motion, Docket Entry No. 17-8,
p. 1.
       20
            Plaintiff's Motion, Docket Entry No. 17, p. 7       11 28, 29.
       21
            Defendants' Response, Docket Entry No. 18, p. 5          1 11.
      Demand Letter - Notice of Default, Exhibit 5 to Plaintiff's
       22

Motion, Docket Entry No. 17-5.
                                          -6-
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both new notice of intent and new notice of acceleration for a
lender to re-accelerate a loan after an abandonment.                        Wilmington
Trust, National Association v. Rob, 891 F.3d 174, 177 (5th Cir.
2018).        Because there is no evidence that Defendants gave new
notice        of   intent   to    accelerate        after    abandoning     its   prior
acceleration, the court concludes that Plaintiff has sufficiently
shown that it is likely they can prove Defendants have not
currently satisfied the requirements of Texas law to accelerate and
foreclose on the loan.
        Citing no authority, Defendants argue Plaintiff cannot rely on
the     lack       of   acceleration    to     obtain       an   injunction    because
Plaintiff's Amended Complaint does not allege that the loan is not
currently accelerated.            But Plaintiff was only required to submit
"a short and plain statement of the claim" showing its entitlement
to relief in its complaint.            Fed. R. Civ. P. 8(a)(2).           Plaintiff's
Amended Complaint seeks a declaratory judgment and injunction that
Defendants may never foreclose on the Property, but no foreclosure
sale was pending at that time.                     Plaintiff was not required to
anticipate and plead any possible defect that might arise in
Defendants' attempts to foreclose during the pendency of the
action.        "A preliminary injunction is always appropriate to grant
intermediate relief of the same character as that which may be
granted        finally."         De   Beers        Consolidated    Mines,     Ltd.     v.
United States,          65 S. Ct. 1130, 1134 (1945).              Because Plaintiff
seeks     a    final     judgment     that     would    prevent     Defendants       from
                                             -7-
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foreclosing on the Property, the court may grant a preliminary
injunction against a foreclosure during the pendency of the action
even if the basis for the injunction is different than that

underlying the Plaintiff's claims.
        While Plaintiff has shown Defendants likely have not met the

legal requirements for the foreclosure sale on February 4, 2020,
Plaintiff has not shown it is likely to prevail on its claim that
Defendants' should be enjoined "from interfering with Plaintiff's
possession of its Property." 23        The court must narrowly tailor the
injunctive remedy to the specifics of the action and law at issue.
ODonnell v. Harris County,          Texas, 892 F.3d 147, 155         (5th Cir.
2018).      While Plaintiff has persuaded the court that it is likely
the loan is not currently accelerated under Texas law, Plaintiff
has     not    shown    that    Defendants     cannot      re-accelerate      it.
Accordingly, the court will limit the contemplated injunction to
preventing Defendants from selling the Property at the foreclosure
sale on February 4, 2020.
       Given such a limitation, the remaining factors weigh in favor
of temporary injunctive relief.         The potential injury to Plaintiff
is irreparable because money cannot fully compensate for the loss
of a unique piece of real property.          See Ayiba v. Wells Fargo Bank,
N.A., Civil Action No. H-10-5017, 2011 WL 13248493, at *12 (S.D.
Tex. Dec. 5, 2011).            This outweighs the potential injury to


      Plaintiff's
       23
                        Motion,    Docket    Entry   No.   17,   "Request     for
Relief," p. 10.
                                      -8-
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Defendants - a brief delay in foreclosing on the Property.                             The

final factor of public interest is neutral because                       the injunction
affects only the Plaintiffs and Defendants.                        Belknap v. Bank of
America, N.A., Civil Action No. G-12-198, 2012 WL 3150271, at *3
(S.D.       Tex.    August     1,    2012)         The    court    concludes      limited
preliminary injunctive relief to prohibit the February 4 sale is
appropriate.
        "The court may issue a preliminary injunction or a temporary
restraining order only if the movant gives security in an amount
that the court considers proper to pay the costs and damages
sustained by any party found to have been wrongfully enjoined or
restrained."           Fed. R. Civ. P. 65 (c).             While the court is not
enjoining        Defendants        from   foreclosing       on    the    Property     after
February 4, 2020, Texas law requires a minimum of 21 days' notice
before a private foreclosure sale can occur, and sales may only
occur       on   the   first    Tuesday      of    a     month.     Tex.      Prop.    Code
§   51.002 (a) ,    (b) .    The court's order will therefore result in an
approximately one-month delay before Defendants may attempt to
foreclose on the property again.                    Plaintiff currently collects
$2,500 per month in rent on the Property, and states in its
briefing that a bond of $2,500 is appropriate for a delay of one
month.24         $2,500 is sufficient to secure potential injury to
Defendants         should    the    injunctive      relief       later   be   determined
improper.


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            Plaintiff's Reply, Docket Entry No. 19, p. 3.
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                     III.    Conclusion and Order

     For the reasons explained above, Plaintiff's Application for
Emergency Ex Parte Temporary Restraining Order and Request for

Hearing on Preliminary Injunction (Docket Entry No. 17) is GRANTED

IN PART and DENIED IN PART.    Defendants CitiBank, N .A., as Trustee,

and Select Portfolio Servicing are ENJOINED from conducting or

proceeding with the foreclosure sale of the property subject to the
petition known as 538 Longview Drive, Sugar Land, Texas 77478, on
February 4, 2020.    Plaintiff will post cash or a corporate surety
bond in the amount of $2,500 with the Clerk of the Court.

     SIGNED at Houston, Texas, on this 3rd day of February, 2020.




                                                        LAKE
                                               ITED STATES DISTRICT JUDGE




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